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                         EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civ. A. No. 15-cv-02156-PAB-KMT

   MATTHEW PRIM, Individually and On Behalf of All Others Similarly Situated

          Plaintiff,

   v.

   ENSIGN UNITED STATES DRILLING, INC.,

          Defendant.


                          SETTLEMENT AGREEMENT AND RELEASE

          1.      This Settlement Agreement and Release (the “Settlement Agreement,” “Settlement”
   or “Agreement”) is entered into between Plaintiff Matthew Prim (“Plaintiff” or “Prim”), and Ensign
   United States Drilling, Inc. (“Defendant” or “Ensign”) (collectively, the “Parties”), subject to the
   approval of the Court.

                                               RECITALS

          2.      Prim, individually and on behalf of the Settlement Class (as defined below), asserts
   that Defendant (as defined below) failed to pay proper overtime wages under the Fair Labor
   Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) and related state laws related to the payment of
   overtime wages.

           3.     As a result of the Parties’ arms’-length negotiations, the Parties have agreed to settle
   this Action according to the terms of this Settlement Agreement.

           4.       Class Counsel has made a thorough and independent investigation of the facts and
   law relating to the allegations in the Action. In agreeing to this Settlement Agreement, Class Counsel
   has considered: (a) the facts developed during the Parties’ settlement negotiations and the law
   applicable thereto; (b) the attendant risks of continued litigation and the uncertainty of the outcome
   of the claims alleged against Defendant; and (c) the desirability of consummating this Settlement
   according to the terms of this Settlement Agreement. Prim has concluded that the terms of this
   Settlement are fair, reasonable, and adequate, and that it is in the best interests of Prim and the
   Settlement Class to settle their claims against Defendant pursuant to the terms set forth herein.

          5.      Defendant denies the allegations in Prim’s lawsuit and denies that it engaged in any
   wrongdoing or violation of law. Defendant is entering into this Agreement because it will eliminate
   the burden, risk and expense of further litigation. Except for purposes of this Settlement, neither
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   this Agreement nor any document referred to herein, nor the negotiations resulting in this
   Settlement Agreement, nor any action taken to carry out this Agreement, may be used in any way as
   an admission, concession or indication by or against Defendant of any fault, wrongdoing or liability
   whatsoever, including any concession that certification of a class other than for purposes of this
   Settlement would be appropriate in this Action or any other case.

           6.     The Parties recognize that notice to the Settlement Class of certain limited material
   terms of this Settlement, as described herein, as well as Court approval of this Settlement, are
   required to effectuate the Settlement, and that the Settlement will not become operative until the
   Court grants approval of it and the Settlement becomes effective.

           7.      The Parties stipulate and agree that, for settlement purposes only, the requisites for
   establishing collective action certification under the FLSA pursuant to 29 U.S.C. § 216(b) are met.
   Should this Settlement not become final, such stipulation to collective action certification shall
   become null and void and shall have no bearing on, and shall not be admissible in connection with,
   the issue of whether or not certification would be appropriate in a non-settlement context.

           8.      In consideration of the foregoing and other good and valuable consideration, the
   receipt and sufficiency of which is hereby acknowledged by each party to the other, IT IS HEREBY
   AGREED, by and between the undersigned, subject to the approval of the Court and the other
   conditions set forth herein, that Plaintiff and the Eligible Class Members’ (as defined below) claims
   against Defendant shall be settled, compromised and dismissed, on the merits and with prejudice,
   and that the Released Claims (as defined below) shall be finally and fully compromised, settled and
   dismissed as to the Releasees (as defined below), in the manner and upon the terms and conditions
   set forth below.

                                            DEFINITIONS

           9.     The following terms used in this Settlement Agreement shall have the meanings
   ascribed to them below:

                 a.      “Action” means the lawsuit Prim filed against Ensign on September 30,
   2015, in the United States District Court for the District of Colorado, Civ. A. No. 15-cv-02156-
   PAB-KMT.

                  b.       “Approval Order” means the Court’s Approval Order approving the terms
   and conditions of this Agreement.

                 c.    “Class Counsel” means Fibich, Leebron, Copeland, Briggs & Josephson and
   Bruckner Burch, PLLC.

                  d.     “Class Period” for Plaintiff Matthew Prim means September 30, 2012
   through the date of approval and for all other Eligible Class Members (as defined herein) means
   January 18, 2014 through the date of approval.

                  e.      “Court” means the United States District Court for the District of Colorado.

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                  f.      “Ensign’s Counsel” means Sherman & Howard L.L.C.

                  g.      “Defendant” means Ensign United States Drilling Inc.

                   h.    “Eligible Class Member” means all current Opt-in Class Members and
   Settlement Class Members who timely opt-in to the Settlement Class. Such individuals consist of
   hourly oilfield employees who worked for Defendant during the Class Period who received
   Operator Safety Bonuses and Mud Bonuses.

                  i.      “Effective Date” means the first business day following the Court’s approval
   of the Settlement.

                  j.    “Fee Award” means the award of attorneys’ fees that the Court authorizes to
   be paid to Class Counsel for the services they provided to Prim and the Settlement Class in the
   Action.

                   k.     “Gross Settlement Amount” means the maximum amount that Defendant
   shall pay in exchange for the release of all Released Claims (as defined below) by Plaintiff and the
   Eligible Class Members, which is the sum of USD $815,000.00, inclusive of the employees’ and
   employers’ share of FICA and FUTA payroll taxes on the amounts paid to Prim and the Eligible
   Class Members. In no event shall the Gross Settlement Amount exceed this sum.

                    l.      “Net Settlement Amount” means the Gross Settlement Amount less: (i) the
   payment of attorneys’ fees to Class Counsel, not to exceed $285,250.00, which is approximately
   thirty-five percent of the Gross Settlement Amount; (ii) the payment of out-of-pocket costs incurred
   by Class Counsel not to exceed $3,500.00; (iii) the Settlement Administrator’s (as defined below)
   costs related to administering this Settlement, which are estimated not to exceed $15,000.00 and (iv)
   a Service Award to Prim in an amount not to exceed $7,500.00. The Parties acknowledge that all of
   these amounts are subject to the Court’s approval.

                  m.     “Notice Deadline” means the date sixty (60) days after the Notice of
   Settlement and the Settlement Consent Form are initially mailed and/or emailed by the Settlement
   Administrator to the Settlement Class. Settlement Class Members shall have until the Notice
   Deadline to submit their Settlement Consent Form.

                   n.     “Notice of Settlement” means the notice to the Settlement Class substantially
   in the form as Exhibit A attached hereto or as approved by the Court.

                  o.      “Parties” means Matthew Prim and Ensign.

                  p.      “Plaintiff” or “Prim” means Matthew Prim.

                   q.       “Released Claims” means any and all state, local or federal claims,
   obligations, demands, actions, rights, causes of action and liabilities, whether known or unknown,
   against Releasees for alleged unpaid overtime wages, liquidated or other damages, unpaid costs,
   penalties (including late payment penalties), premium pay, interest, attorneys’ fees, litigation costs,

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   restitution or other compensation and relief arising under the FLSA or any other state or local wage-
   related law applicable to the allegations asserted in the Action and which emanate from and are
   based upon the same facts alleged in the Action on behalf of Prim and the Settlement Class with
   respect to the time that they were employed by Defendant during the Class Period. The Parties
   acknowledge that only Settlement Class Members who return a Settlement Consent Form and
   thereby become opt-in plaintiffs shall release their FLSA and state or local wage and hour law claims
   against Releasees.

                    r.      “Releasees” means Defendant, Ensign United States Drilling Inc., and its
   past, present and future parent companies, subsidiaries, predecessors, affiliates, divisions, agents,
   employees, owners, members, officers, directors, partners, investors, legal representatives,
   accountants, trustees, executors, administrators, real or alleged alter egos, predecessors, successors,
   transferees, assigns, and insurers.

                  s.       “Settlement Administrator” means CPT Group, subject to the approval of
   the Court.

                    t.      “Settlement Award” means the payment that each Eligible Class Member
   shall be entitled to receive pursuant to the terms of this Agreement.

                  u.       “Settlement Class” or “Settlement Class Member” means all individuals who
   are covered by this Settlement. Such individuals consist of hourly oilfield employees who worked for
   Defendant during the Class Period who received Operator Safety Bonuses and Mud Bonuses.

                   v.      “Settlement Consent Form” means the form attached hereto as Exhibit B,
   subject to the approval of the Court.

                                               RELEASES

          10.   Release. In consideration of the benefits to be received by Prim and the Eligible
   Class Members under this Settlement, upon the Effective Date:

                   a.      Plaintiff Matthew Prim shall be deemed to have released and forever
   discharged Releasees from any and all Released Claims, and, in addition, shall be deemed to have
   released Releasees from any and all claims, demands, rules or regulations, or any other causes of
   action of whatever nature, whether known or unknown, including but not limited to Title VII of the
   Civil Rights Act of 1964, as amended; Sections 1981 through 1988 of Title 42 of the United States
   Code, as amended; The Genetic Information Nondiscrimination Act of 2008 (GINA); The
   Employee Retirement Income Security Act of 1974 (“ERISA”) (except for any vested benefits under
   any tax qualified benefit plan); The Civil Rights Act of 1991; The Immigration Reform and Control
   Act; The Americans with Disabilities Act of 1990; The Family and Medical Leave Act; The Equal
   Pay Act; or any allegation for costs, fees, interest, or other expenses including attorneys’ fees
   incurred in any matter; or any and all claims for bonuses, commissions or any claims for incentive
   compensation of any type, whether under common law or policy or contract, and any other federal,
   state or local human rights, civil rights, wage-hour, whistleblower, pension or labor laws, rules
   and/or regulations, public policy, any and all claims that were asserted or that could have been

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   asserted in the Action, any claim for breach of contract, contract or tort laws, or any claim arising
   under common law, such as claims for malicious prosecution, misrepresentation, defamation, false
   imprisonment, libel, slander, invasion of privacy, negligence, claims based on theories of strict
   liability or respondeat superior, infliction of emotional distress, or otherwise, or any other action or
   grievance against the Releasees, based upon any conduct occurring up to and including the date of
   the Court’s Approval Order, however claims for workers’ compensation are excluded from the
   scope of this release; and

                  b.      Eligible Class Members (as defined above) shall be deemed to have released
   and discharged the Releasees from the Released Claims.

          CERTIFICATION, NOTICE, AND SETTLEMENT IMPLEMENTATION

          11.     The Parties agree to the following procedures for obtaining approval of the
   Settlement, certifying the Settlement Class for the purpose of settlement only, and notifying the
   Settlement Class of this Settlement:

                  a.      Request for Class Certification and Approval Order. No later than three
   (3) business days following the execution of this Agreement, Prim shall file a Motion for Approval
   of Settlement Agreement, requesting that the Court approve the Settlement, certify the Settlement
   Class pursuant to 29 U.S.C. § 216(b) for settlement purposes only, and approve the Notice and
   Claims forms attached hereto as Exhibits A and B. Prim agrees to file this Settlement Agreement as
   a restricted document and to file an accompanying motion to restrict, requesting Level 1 limits,
   pursuant to D.C.Colo.LCivR 7.2.

                  b.       Notice. The Settlement Administrator shall be responsible for preparing,
   printing, and mailing the Notice of Settlement and Settlement Consent Form to all Settlement Class
   Members.

                   c.     By no later than (10) business days following the Approval Order, Defendant
   shall provide the Settlement Administrator with the names, last known addresses, last known
   telephone numbers, last known email addresses (if applicable), last four digits of the social security
   number, total compensation, bonuses received, dates of employment, and number of workweeks
   that each Settlement Class Member worked for Defendant during the Class Period.

                   d.     As soon as practicable after Defendant provides the information in Section
   11(c) to the Settlement Administrator, the Settlement Administrator shall calculate each Settlement
   Class Member’s pro rata share of the Net Settlement Amount and shall provide such calculations to
   the Parties. The Parties will have fourteen (14) calendar days after receipt of the calculations to
   review the Settlement Administrator’s calculations and to propose any corrections and/or revisions.

                  e.    In order to provide the best notice practicable, the Settlement Administrator,
   prior to mailing the Notice of Settlement and Settlement Consent Form, will run the list of
   Settlement Class Members through the U.S. Postal Service’s National Change of Address database
   (“NCOA”).


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                    f.     Within fifteen (15) business days after receiving the Parties’ approval of the
   Settlement Administrator’s calculations of each Settlement Class Member’s pro rata share of the Net
   Settlement Amount, the Settlement Administrator shall send copies of the Court-approved Notice
   of Settlement and Settlement Consent Form to all Settlement Class Members via U.S. first class mail,
   with an enclosed self-addressed postage prepaid return envelope. Furthermore, on the 30th day
   following the mailing of the first Court-approved Notice of Settlement, the Settlement
   Administrator shall send an identical reminder Notice to all Settlement Class Members via U.S. first
   class mail that have not already submitted a Settlement Consent Form.

                   g.      Any Notice of Settlement and Settlement Consent Form returned to the
   Settlement Administrator with a forwarding address shall be re-mailed by the Settlement
   Administrator within five (5) business days following receipt of the returned mail. If any Notice of
   Settlement and Settlement Consent Form is returned to the Settlement Administrator without a
   forwarding address, the Settlement Administrator shall undertake reasonable efforts such as skip
   traces to search for the correct address within five (5) business days, and shall re-mail the Notice of
   Settlement and Settlement Consent Form to any newly found addresses within five (5) business days
   of finding the new address(es). Defendant shall provide within two (2) business days the birthdate
   of such persons for which the Settlement Administrator undertakes a skip trace. Nothing in this
   Agreement shall limit Defendant’s right and ability to communicate with its current employees,
   including those who are Settlement Class Members, regarding their wages or other terms and
   conditions of employment. Defendant may communicate with its current employees who are
   Settlement Class Members for the purpose of encouraging them to participate in the Settlement, so
   long as such communications are consistent with this Settlement Agreement.

           12.    Interim Report by the Settlement Administrator. Within five (5) business days
   after the Notice Deadline, the Settlement Administrator shall confirm: (a) the total number of
   Settlement Class Members who were sent the Notice of Settlement and Settlement Consent Form;
   and (b) the total number and names of Settlement Class Members who timely returned the
   Settlement Consent Form.


         13.    Dismissal of the Action. Within five (5) business days of the Court entering the
   Approval Order, Class Counsel shall dismiss the Action with prejudice.

                     SETTLEMENT FUNDS AND AWARD CALCULATION

          14.     Gross Settlement Amount.

                  a.      Deposit. No later than thirty (30) calendar days following the Approval
   Order, Ensign shall wire USD $815,000.00 to the Settlement Administrator. This amount includes
   the approved attorneys’ fees, costs, and service award to Prim. Upon receipt by the Settlement
   Administrator, these funds shall be transferred immediately to a Qualified Settlement Fund satisfying
   the requirements of Treasury Regulation Section 1.468B-1. The Settlement Administrator shall
   provide Ensign with a Section 1.468B-1 Relation Back Election that meets the requirements of
   Regulation Section 1.468B-1(j)(2) within five (5) business days after receipt of the funds. Ensign


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   shall execute and return this document to the Settlement Administrator which shall be affixed to the
   initial tax return of the Qualified Settlement Fund in order to establish the start date of the Qualified
   Settlement Fund.

                  b.     Disbursement by Settlement Administrator. All disbursements shall be
   made from the Qualified Settlement Fund. The Settlement Administrator shall be the only entity
   authorized to make withdrawals or payments from the Qualified Settlement Fund.

                   c.      Interest. The interest on the funds deposited by Ensign will inure pro rata to
   the Party or persons to whom the underlying funds are ultimately paid out.

           15.     Payments. Subject to the Court’s Approval Order, the following amounts shall be
   paid by the Settlement Administrator from the Gross Settlement Amount:

                   a.       Service Award to Prim. Subject to the Court’s approval, Prim shall receive
   up to $7,500.00 for his efforts in bringing and prosecuting the Action, and in consideration of this
   general release set forth above in Paragraph 10(a). The Qualified Settlement Fund shall issue an IRS
   Form 1099 for this payment. Prim shall be solely and legally responsible for all taxes on the Service
   Award. The Settlement Administrator shall distribute the Service Award to Prim no later than seven
   (7) calendar days following receipt of the Deposit described in Section 15(a) herein.

                   b.      Attorneys’ Fees and Costs.

                          (i)     Subject to the Court’s approval, Class Counsel shall receive attorneys’
   fees in an amount up to $285,250.00, of the Gross Settlement Amount, which will compensate Class
   Counsel for all work performed in the Action as of the date of this Settlement Agreement, as well as
   all of the work remaining to be performed, including but not limited to documenting the Settlement,
   securing Court approval of the Settlement, making sure that the Settlement is fairly administered and
   implemented, and obtaining final dismissal of the Action. In addition, Class Counsel shall receive
   reimbursement of their out-of-pocket costs approved by the Court in an amount not to exceed
   $3,500.00. The Settlement Administrator shall distribute the Attorneys’ Fees and Costs to Class
   Counsel no later than seven (7) calendar days following receipt of the Deposit described in Section
   15(a) herein.

                          (ii)     The attorneys’ fees and costs paid by Ensign pursuant to this
   Agreement shall constitute full satisfaction of Defendant’s obligations to pay amounts to any person,
   attorney or law firm for attorneys’ fees or costs in the Action on behalf of Prim and/or any
   Settlement Class Member, and shall relieve Defendant from any other claims or liability to any other
   attorney or law firm for any attorneys’ fees or costs to which any of them may claim to be entitled
   on behalf of Prim or any Settlement Class Member.

                          (iii)  An IRS Form 1099 shall be provided to Class Counsel by the
   Settlement Administrator for the payments made to Class Counsel. Each firm constituting Class
   Counsel shall be solely and legally responsible to pay any and all applicable taxes on the payment
   made to that firm.

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                   c.      Settlement Administration Costs. Settlement Administration costs are
   estimated not to exceed $15,000.00 and shall be paid from the Gross Settlement Amount. The
   Parties agree to cooperate in the settlement administration process and to make all reasonable
   efforts to control and minimize the costs incurred in the administration of the Settlement.

                  d.      Settlement Awards to Eligible Class Members. Settlement Awards shall
   be made to Eligible Class Members as set forth below.

            CALCULATION AND DISTRIBUTION OF SETTLEMENT AWARDS

           16.    Settlement Award Eligibility. All Eligible Class Members shall be paid a
   Settlement Award from the Net Settlement Amount. The Settlement Administrator will calculate a
   pro rata award for each Settlement Class Member based on the total compensation, bonuses
   received, and total number of weeks that the respective Settlement Class Member worked for
   Defendant during the Class Period. All Settlement Award determinations shall be based on
   Defendant’s payroll and workweek information for Settlement Class Members which shall be
   produced to the Settlement Administrator. The Parties reserve the right to review the Settlement
   Administrator’s calculations and to propose any corrections/revisions to the same, as described
   herein.

            17.     Fifty percent (50%) of each Settlement Award to Eligible Class Members shall be
   treated as back wages, and accordingly, on each Settlement Award, the Settlement Administrator
   shall effectuate federal and applicable state income and employment tax withholding as required by
   law with respect to 50% of each Settlement Award distributed. The employer’s share of all required
   FICA and FUTA taxes on such amounts shall be paid from the Gross Settlement Fund.
   Withholding shall be at the 25% supplemental wage tax rate. Amounts withheld will be remitted by
   the Settlement Administrator from the Qualified Settlement Fund to the appropriate governmental
   authorities. The remaining 50% of each Settlement Award shall be treated as non-wage penalties and
   liquidated damages, to be reported on an IRS Form 1099, and shall not be subject to FICA and
   FUTA withholding taxes. Each Eligible Class Member shall be solely and legally responsible to pay
   all taxes on the non-wage penalties and liquidated damages portion of the Settlement Award.
   Defendant shall cooperate with the Settlement Administrator to provide payroll tax information as
   necessary to accomplish the income and employment tax withholding on the wage portion of each
   Settlement Award, and the IRS Form 1099 reporting for the non-wage portion of each Settlement
   Award.

           18.    The Settlement Administrator shall provide counsel for the Parties with a final report
   of all proposed Settlement Awards, no more than fifteen (15) business days following the close of
   the Notice Deadline.

           19.    The Settlement Administrator shall mail all Settlement Awards to Eligible Class
   Members within twenty (20) days after receiving the funds necessary to fund the balance of the
   settlement or as soon as reasonably practicable. The Settlement Administrator shall then provide a



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   written certification of such payments to counsel for the Parties within five (5) business days of
   mailing all Settlement Awards to Eligible Class Members.

            20.     All Settlement Award checks shall remain valid and negotiable for one hundred
   eighty (180) days from the date of their issuance and may thereafter automatically be canceled if not
   cashed within that time, at which time the right to recover any Settlement Award will be deemed
   void and of no further force and effect. All funds from checks not cashed will revert to the
   Qualified Settlement Fund. The Settlement Administrator will include with each mailed check a
   letter stating that the check must be cashed or deposited within 180 days or it will be cancelled and
   deemed void and of no further effect.

           21.      Remaining Monies. If at the conclusion of the 180-day check void period set forth
   above, there are any monies remaining in the Qualified Settlement Fund, those remaining monies
   shall be paid to Ensign.

           22.     No Claim Based Upon Distributions or Payments in Accordance with this
   Settlement Agreement. No person shall have any claim against Defendant or the Releasees, Prim,
   the Settlement Class Members, Class Counsel, Ensign’s Counsel or the Settlement Administrator
   based on distributions or payments made in accordance with this Settlement Agreement.

                                          MISCELLANEOUS

          23.    Defendant’s Legal Fees. Defendant’s legal fees and expenses in the Action shall
   be borne by Defendant.

           24.     Nullification of the Settlement Agreement. In the event: (a) the Court does not
   approve the Settlement as provided herein; or (b) the Settlement does not become final for any
   other reason, this Agreement shall be null and void and the Parties shall be returned to their
   respective statuses as of the date immediately prior to the execution of this Agreement. If this
   occurs, the Parties shall proceed in all respects as if the Agreement had not been executed, and the
   Parties will equally pay the Settlement Administrator’s costs incurred as of the date the Settlement
   becomes null and void.

          25.     Inadmissibility of Settlement Agreement. Except for purposes of settling the
   Action, neither this Agreement, nor its terms, nor the negotiations resulting in this Agreement, nor
   any document, statement, proceeding or conduct related to this Agreement, nor any reports or
   accounts thereof, shall be construed as, offered or admitted in evidence as, received as, or deemed to
   be evidence for any purpose adverse to the Parties, including, without limitation, evidence of a
   presumption, concession, indication or admission by any of the Parties of any liability, fault,
   wrongdoing, omission, concession or damage.

           26.     Computation of Time. For purposes of this Agreement, if the prescribed time
   period in which to complete any required or permitted action expires on a Saturday, Sunday, or legal
   holiday (as defined by FED. R. CIV. P. 6(a)(6)), such time period shall be continued to the following
   business day.


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          27.    Interim Stay of Proceedings. The Parties agree to hold in abeyance all
   proceedings in the Action, except such proceedings necessary to implement and complete the
   Settlement.

           28.     Amendment or Modification. This Agreement may be amended or modified only
   by a written instrument signed by counsel for all Parties or their successors in interest.

           29.    Entire Settlement Agreement. This Agreement constitutes the entire agreement
   among the Parties, and no oral or written representations, warranties or inducements have been
   made to any Party concerning this Agreement other than the representations, warranties, and
   covenants contained and memorialized in such documents. All prior or contemporaneous
   negotiations, memoranda, agreements (including without limitation the Settlement Term Sheet),
   understandings, and representations, whether written or oral, are expressly superseded hereby and
   are of no further force and effect. Each of the Parties acknowledges that they have not relied on
   any promise, representation or warranty, express or implied, not contained in this Agreement.

           30.      Authorization to Enter Into Settlement Agreement. Counsel for all Parties are
   expressly authorized by the Parties whom they represent to enter into this Agreement and to take all
   appropriate action required or permitted to be taken by such Parties pursuant to this Agreement to
   effectuate its terms, and to execute any other documents required to effectuate the terms of this
   Agreement. The Parties and their counsel shall cooperate with each other and use their best efforts
   to effect the implementation of the Agreement.

           31.     Binding on Successors and Assigns. This Agreement shall be binding upon, and
   inure to the benefit of Prim, Ensign, and the Eligible Class Members and their heirs, beneficiaries,
   executors, administrators, successors, transferees, successors, assigns, or any corporation or any
   entity with which any party may merge, consolidate or reorganize.

           32.    Counterparts. This Agreement may be executed in one or more counterparts,
   including by facsimile or email. All executed counterparts and each of them shall be deemed to be
   one and the same instrument.

           33.     Cooperation and Drafting. The Parties have cooperated in the drafting and
   preparation of this Agreement; hence the drafting of this Agreement shall not be construed against
   any of the Parties. The Parties agree that the terms and conditions of this Agreement were
   negotiated at arms’ length and in good faith by the Parties, and reflect a settlement that was reached
   voluntarily based upon adequate information and sufficient discovery and after consultation with
   experienced legal counsel.

            34.     Jurisdiction of the Court. The Court shall retain jurisdiction with respect to the
   interpretation, implementation, and enforcement of the terms of this Settlement and all orders and
   judgments entered in connection therewith, and the Parties and their Counsel submit to the
   jurisdiction of the Court for this purpose.

         35.    Confidentiality of Material Provided to Class Counsel. All materials provided by
   Defendant to Class Counsel or the Settlement Administrator shall be kept confidential and used

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   only for purposes of administering the Settlement. No later than thirty (30) days after the time
   period for cashing checks constituting Settlement Awards, Class Counsel shall either destroy or
   return to Defendant’s counsel the original and all copies of any documents designated as
   “confidential” that Defendants produced or provided to Class Counsel during the Action.

         IN WITNESS WHEREOF, the Parties and their Counsel have executed this Settlement
   Agreement as follows:




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civ. A. No. 15-cv-02156-PAB-KMT

   MATTHEW PRIM, Individually and On Behalf of All Others Similarly Situated

          Plaintiff,

   v.

   ENSIGN UNITED STATES DRILLING, INC.,

          Defendant.

                                IMPORTANT NOTICE OF SETTLEMENT


   To:    «First_Name» «Last_Name»

   Re:    Your Right to Overtime Pay from Settlement with Ensign.


                              WHY AM I GETTING THIS NOTICE?

            You are getting this Notice because a lawsuit against your current or former employer
   Ensign United States Drilling Inc. (“Ensign”) settled. The lawsuit claimed Ensign did not pay
   overtime as required by state and/or federal law. Specifically, the lawsuit claimed Ensign failed to
   include certain bonuses (namely, Operator Safety Bonuses and Mud Bonuses Bonuses) in its hourly
   oilfield employees’ overtime rates as required. You can receive money under the settlement if you
   fill out the attached Claim Form and Release and return it to Plaintiff’s Counsel by
   «Claim_Filing_Date».

                       HOW DO I GET THE MONEY OFFERED TO ME?

           You must fill out the attached Claim Form and Release to receive money under the
   settlement. The Claim Form must be returned to CPT Group by U.S. Mail (postmark date),
   fax or E-Mail by «Claim_Filing_Date», if you want to receive money from the settlement. If
   you do not want to accept the settlement, simply do nothing.

                             YOUR SHARE OF THE SETTLEMENT.

           By submitting the Claim Form and Release, you will be entitled to a payment from the
   settlement following deductions for attorneys’ fees and costs and other settlement-related costs.
   Your settlement payment was based on your employment history with Ensign, including the number
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   of weeks you worked in the relevant period, your rate of pay, and the bonuses you received. Your
   settlement payment is estimated to be: $«AMOUNT».


                       WHAT HAPPENS IF I SUBMIT MY CLAIM FORM?

          If you return the Claim Form by «Claim_Filing_Date»:

          A.      You will be acknowledging that you are represented by Josephson Dunlap Law Firm
                  (“Josephson Dunlap”) and Bruckner Burch, PLLC and that you will be bound by the
                  terms of the Professional Services Agreement signed by the Named Plaintiff in this
                  case. You will not have to pay Josephson Dunlap or Bruckner Burch, PLLC any
                  money directly. Ensign is paying attorneys’ fees and costs as part of the settlement.

          B.      You will be waiving and releasing any and all claims for unpaid wages or overtime
                  against Ensign during the period beginning three years back from the date you opt-in
                  via the enclosed Claim Form and Release and ending on the date you opt-in.

          C.      You will receive your settlement payment.

                              WHEN WILL I RECEIVE MY MONEY?

          You should receive your check within 60 days after Claim Filing Date.

                               WHAT DOES THE COURT THINK?

            While the Court approved this settlement, the Court did not determine Ensign (or anyone
   else) did anything wrong. The Court did not determine you are owed any money. Instead, this is a
   settlement payment.

                                  WHAT DOES ENSIGN THINK?

            Ensign believes the lawsuit is without merit and that you were paid correctly and fairly for
   your work. Ensign also does not believe a collective action is appropriate. Ensign nonetheless
   believes this settlement is a reasonable solution to this dispute to avoid the time and expense of
   litigation.

                             WHAT IF I HAVE OTHER QUESTIONS?

         This Notice is only a summary. If you have additional questions, please call Josephson
   Dunlap at 713-352-1100 or the Settlement Administrator at 800-542-0900. If you would like, you
   can obtain certain documents related to the case. However, the deadline for receiving your
   completed Claim Form and Release will not be extended under any circumstances.

         If your Claim Form and Release is not postmarked, faxed and/or emailed by
   «Claim_Filing_Date», you will not receive money from the settlement.
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          Please do not contact the Court regarding this settlement. The Court must remain
   neutral in this matter and cannot offer you advice.

         Where do I Send My Claim Form and Release?


                          Please return the Claim Form and Release to:
                                  Ensign Overtime Settlement
                                               c/o
                                           CPT Group
                                          16630 Aston
                                        Irvine, CA 92606
                          Or by E-Mail: backwages@mybackwages.com
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                                  EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civ. A. No. 15-cv-02156-PAB-KMT

   MATTHEW PRIM, Individually and On Behalf of All Others Similarly Situated

           Plaintiff,

   v.

   ENSIGN UNITED STATES DRILLING, INC.,

           Defendant.

                                    CLAIM FORM AND RELEASE

           I read the Notice regarding the overtime settlement with Defendant Ensign United States
   Drilling Inc. (“Ensign”). I had the opportunity to talk to Josephson Dunlap Law Firm (“Josephson
   Dunlap”) and/or Bruckner Burch, PLLC, attorneys for Plaintiffs in the Lawsuit, about my rights
   and obligations under the settlement. I am making an informed, knowledgeable, and voluntary
   decision to sign this Claim Form and Release so I can obtain my settlement payment.

         I understand my signed Claim Form and Release must be postmarked, faxed, or
   emailed by «Claim_Filing_Date» or I will not receive any money under the settlement.

            In consideration for the payment of my settlement share, I am giving up potential or actual
   claims against various persons and entities. I am also giving up the right to sue for potential or
   actual claims against various persons and entities. In particular, I waive and release Ensign (including
   its past and present parents, subsidiaries, affiliates, officers, directors, board members, shareholders,
   employees and agents) from any and all claims relating to the payment/non-payment of wages or
   overtime under federal, state, or other laws during the time period beginning three (3) years back
   from the date I sign this Claim Form and Release by opting-into this lawsuit and ending on the date
   I sign this Claim Form and Release.

           I declare the foregoing representations and information are true and correct. By submitting
   the Claim Form and Release, I am consenting to join this Lawsuit.

   _________________________________               ________________________________
   (Sign Your Name Here)                           (Date)

   _________________________________
   Printed Name

   _________________________________               _________________________________
   Cell Phone                                      Email Address

   _________________________________               _________________________________
   Address                                         City, State, Zip Code
